                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


 KNOWLTON et al.,

                            Plaintiffs,
                                                                    Case No. 20-CV-1660
 v.

 CITY OF WAUWATOSA et al.,

                            Defendants.


                       SECOND AMENDED SCHEDULING ORDER


      On July 29, 2021 the court conducted a status conference. Appearing on behalf of the plaintiffs

were Attorneys Milo Schwab, Kathryn Knowlton, and Kimberly Motley; on behalf of the defendants

was Attorney Jasmyne Baynard.

      NOW, THEREFORE, IT IS HEREBY ORDERED:

1.    The parties may amend pleadings on or before August 20, 2021. Responses due on or before

      September 10, 2021.

2.    All requests for discovery must be served by a date sufficiently early so that all discovery in

      this case can be completed no later than December 31, 2021.

3.    All dispositive pretrial motions together with briefs are to be filed in accordance with Civil

      L.R. 56, and no later than January 31, 2022. Such motions shall not be filed prior to the date

      of completion of discovery.

4.    If no dispositive motions are filed, the court will schedule a telephonic scheduling conference

      soon after the dispositive motion deadline to discuss further scheduling of the case. If

      dispositive motions are filed, the court will schedule a telephonic scheduling conference after

      resolving such motions to discuss further scheduling if resolution of the motions does not

      disposeCase
              of the2:20-cv-01660-NJ
                     case in its entirety. Filed 07/29/21 Page 1 of 2 Document 42
5.   If the parties are in need of any assistance, they are directed to contact the appropriate

     Courtroom Deputy for their case. Courtroom Deputy Ross Miller is responsible for all

     matters in which the case number ends in an even number and can be reached at 414-297-

     3334; Ross_Miller@wied.uscourts.gov. Courtroom Deputy Amanda Chasteen is responsible

     for all matters in which the case number ends in an odd number and can be reached at 414-

     297-1831; Amanda_Chasteen@wied.uscourts.gov.


     Dated at Milwaukee, Wisconsin this 29th day of July, 2021.


                                                     BY
                                                      YTTHE
                                                         HE COURT



                                                     NANCY
                                                     NANC     JOSEPH
                                                          CY JOSE  EP
                                                                    PHH
                                                                   Magistrate
                                                     United States Magiissttrate Judge




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